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CASE NO.: CV 18-02217 SJO (FFM)                         DATE: June 19, 2018
TITLE:          Stephanie Clifford v. Donald J. Trump et al.

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PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                        Not Present
Courtroom Clerk                                         Court Reporter

COUNSEL PRESENT FOR PLAINTIFF:                          COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                             Not Present

========================================================================
PROCEEDINGS (in chambers):      ORDER DENYING PLAINTIFF'S MOTION FOR
RECONSIDERATION [Docket No. 56]

This matter is before the Court on Plaintiff Stephanie Clifford's ("Ms. Clifford" or "Plaintiff") Motion
for Reconsideration in Part of Order Imposing Stay ("Motion"), filed May 24, 2018. Defendants
Essential Consultants, LLC ("EC"), Michael Cohen ("Mr. Cohen"), and Donald J. Trump ("Mr.
Trump") (together, "Defendants") opposed the Motion ("Opposition") on June 1, 2018. Plaintiff
replied ("Reply") on June 7, 2018. The Court found this matter suitable for disposition without oral
argument and vacated the hearing set for June 21, 2018. See Fed. R. Civ. P. 78(b). For the
following reasons, the Court DENIES Plaintiff's Motion.

I.       FACTUAL AND PROCEDURAL BACKGROUND

Plaintiff moves the Court to reconsider a previous order (hereinafter, the "Order") imposing a stay
of the action for ninety days. (See generally Mot., ECF No. 56; Order, ECF No. 53.) Defendants
requested this stay on the grounds that the proceedings would severely prejudice Mr. Cohen's
Fifth Amendment rights in light of an ongoing criminal investigation into Mr. Cohen and EC, an
entity on behalf of which Mr. Cohen negotiated an allegedly invalid non-disclosure agreement with
Ms. Clifford (the "Agreement") and arranged an allegedly illegal payment of $130,000 to Ms.
Clifford.1 (See generally Order; FAC, ECF No. 14.) After careful consideration, the Court
concluded that the gravity of the criminal investigation and the various competing interests in this
action counseled in favor of a temporary stay. (Order 9.) The Court premised its holding on:

         (1) the lack of significant prejudice to Plaintiff; (2) the evidentiary disputes likely to
         arise if the stay is not granted; (3) the potential resolution of several key issues in


     1
         The Agreement, which also names Mr. Trump as a party, restricts Plaintiff from
     discussing certain confidential information, which she contends is related to a former
     intimate relationship with Mr. Trump. (See Order 1.) The Court has yet to address the
     legality of the Agreement and payment.
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           the context of the criminal investigation; (4) the potentially significant impact of this
           proceeding on the integrity of the criminal investigation; and (5) Mr. Cohen's
           significant interest in the preservation of his Fifth Amendment privilege.

(Order 9.) The Court issued the Order on April 27, 2018, and set a status conference for July 27,
2018. (Order 9.)

Despite the imposition of the stay, the media attention on this action– and the parties' willingness
to publicly discuss its merits– has not waned. Mr. Avenatti,2 Ms. Clifford, Mr. Trump, and at least
one ostensible member of Mr. Trump's legal team have made regular public comments related to
Plaintiff's claims.3 (See Decl. Michael J. Avenatti in Supp. Mot. ("Avenatti Decl.") ¶¶ 2-6, Exs. 1-5,
ECF No. 56-2; Decl. Brent H. Blakely in Supp. Opp'n ("Blakely Decl.") ¶¶ 2-3, Ex. A, ECF No. 57-
4.)

II.        DISCUSSION

In her Motion, Plaintiff argues that new facts and evidence exist which demonstrate that less
drastic measures than a complete stay of proceedings are available that would adequately protect
Mr. Cohen's Fifth Amendment rights. (Mot. 1.) In particular, Plaintiff argues that Mr. Trump and
Mr. Giuliani's statements demonstrate that Defendants are fully equipped to defend Plaintiff's
claims without Mr. Cohen's testimony, and that the action should proceed without discovery from
Mr. Cohen. (Mot. 1.) Plaintiff thus requests that the Court reconsider its Order and permit the
action to move forward despite the stay of discovery from Mr. Cohen. (Mot. 1.)

           A.      Legal Standards

Under Federal Rule of Civil Procedure 59(e), a party may move the court to reconsider and amend
a previous order. Fed. R. Civ. Proc. 59(e). The rule offers an "extraordinary remedy, to be used

      2
          Plaintiff's counsel.
      3
        Defendants object to the evidence offered by Plaintiff regarding the public statements of
      Mr. Trump and attorney Rudy Giuliani ("Mr. Giuliani"), arguing that this evidence is
      inadmissible hearsay. (See Evidentiary Objections, ECF No. 58.) While the Court notes
      that relevant statements by Mr. Trump or an authorized agent are generally admissible as
      statements offered against a party opponent, see Fed. R. Evid. 801(d)(2), the Court
      considers the proffered evidence only to the extent that it shows that the statements were
      made, and not as to the truth of those statements. See Fed. R. Evid. 801(c)(2) (hearsay
      evidence is an out-of-court statement used "to prove the truth of the matter asserted in the
      statement"). Because the Court is not considering the truth of the statements, Defendants'
      hearsay objections are OVERRULED. The Court makes no finding as to whether Mr.
      Giuliani is an authorized agent of Mr. Trump for the purpose of the hearsay exclusion.
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sparingly in the interests of finality and conservation of judicial resources." Carroll v. Nakatani,
342 F.3d 934, 945 (9th Cir. 2003) (citation omitted). A "motion for reconsideration should not be
granted, absent highly unusual circumstances, unless the district court is presented with newly
discovered evidence, committed clear error, or if there is an intervening change in the controlling
law." Id. (citing Kona Enterprises, Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2000)).
A party may not use a motion for reconsideration to "raise arguments or present evidence for the
first time when they could reasonably have been raised earlier in the litigation." Id.

       B.     Analysis

Plaintiff first argues that statements made by Mr. Trump and Mr. Giuliani regarding the scope of
the FBI investigation "cast doubt" onto whether Mr. Cohen's Fifth Amendment rights are truly
implicated in this action. (Mot. 9.) According to Plaintiff, statements by Mr. Trump and Mr. Giuliani
that the investigation relates only to Mr. Cohen's business dealings4 and that no wrongdoing has
occurred5 demonstrate that: (1) the scope of the investigation is unrelated to this lawsuit; and (2)
Mr. Cohen has no valid reason to believe his testimony would be self-incriminating. (Mot. 10-11.)
Plaintiff argues that this evidence demonstrates that Mr. Cohen's invocation of the privilege was
simply an opportunistic attempt to delay resolution of the civil proceedings. (Mot. 11.)

As an initial matter, Mr. Trump or Mr. Giuliani's belief in Mr. Cohen's innocence has absolutely no
bearing on Mr. Cohen's Fifth Amendment privilege. As the holder of the privilege, it is Mr. Cohen
himself who must determine whether there is a reasonable "risk of incrimination" that would justify
his silence. See Ohio v. Reiner, 532 U.S. 17, 21 (2001). Plaintiff has provided no evidence
demonstrating that Mr. Cohen's invocation of the privilege was disingenuous or unreasonable, as
Mr. Cohen has refrained from making any statements on these topics.

More importantly, even if Mr. Cohen were to assert a belief that no wrongdoing has occurred, this
would not divest him of his privilege. As the Supreme Court has noted, the "privilege against self-
incrimination would be reduced to a hollow mockery if its exercise could be taken as equivalent


   4
     Mr. Trump reportedly stated on Fox News that the investigation "doesn't have to do with
   me. Michael is a business man. He's got a business. He also practices law. I would say,
   probably the big thing is his business. And they're looking at something having to do with
   his business. I have nothing to do with his business." (Avenatti Decl. Ex. 1 at 10.)
   5
      Mr. Trump stated on Fox News that "from what I see [Mr. Cohen] did absolutely nothing
   wrong. There were no campaign funds going into this which would have been a problem."
   (Avenatti Decl. Ex. 1 at 10-11.) Mr. Giuliani also stated in an interview that the payment
   "is going to turn out to be perfectly legal. That money was not campaign money."
   (Avenatti Decl. Ex. 2 at 30.)
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either to a confession of guilt or a conclusive presumption of perjury." Slochower v. Bd. of Higher
Ed. of City of New York, 350 U.S. 551, 557 (1956). A witness "may have a reasonable fear of
prosecution and yet be innocent of any wrongdoing." Id. Plaintiff's suggestion that a belief in
wrongdoing is somehow required to assert the privilege is entirely baseless.

Plaintiff's evidence regarding the scope of the investigation is likewise deficient. First, even were
the Court to consider the substance of Mr. Trump's statements, they do little if anything to clarify
what, precisely, is being investigated. Mr. Trump asserts that "probably the big thing is his
business" and "they're looking at something having to do with business." (Avenatti Decl. Ex. 1.)
Mr. Cohen's "business" may well involve the $130,000 payment at issue in this action. Second,
qualified statements made by Mr. Trump during a news broadcast do not outweigh the more
substantial evidence from Mr. Cohen and government officials directly involved in the investigation.
The Court previously found that even though "the exact scope and breadth of the criminal
investigation remains unclear, both the government and Mr. Cohen have indicated that the subject
matter of the criminal investigation, and the documents seized, in some part reference the
$130,000 payment made to Ms. Clifford pursuant to the Agreement." (Order 4.) Mr. Trump's
statements do not to alter this finding.

Plaintiff next argues that a complete stay is not necessary because she is willing to concede to
a limited stay on discovery of Mr. Cohen that would fully protect his Fifth Amendment privilege.
(Mot. 12.) Plaintiff does not adequately explain why this argument or concession could not have
been put forth earlier in the litigation, asserting only that "we now know that Mr. Trump is also
capable of testifying authoritatively and with personal knowledge about the Settlement Agreement
and payment." (Mot. 12.) While this attempt to defeat the requirements for reconsideration is
creative, Mr. Trump's knowledge of the payment and agreement has always been at issue in this
action, and his ability to testify on these topics was not an element of the Court's decision.
Furthermore, the new evidence does not contradict the Court's prior finding that Mr. Cohen is "the
alleged mastermind behind the Agreement with the most direct knowledge of the facts and
circumstances surrounding its formation" as it does not demonstrate that Mr. Trump was in any
way involved with the negotiation or drafting of the Agreement or the initial payment to Ms. Clifford.
(See Order 7.)

Beyond Plaintiff's willingness to agree to a limited stay, the only new evidence presented
concerns public statements made by Mr. Trump that the Agreement "is in full force and effect and
will be used in Arbitration for damages against Ms. Clifford" and was implemented "to stop the
false and extortionist accusations made by her about an affair[.]" (Avenatti Decl. Ex. 3.) However,
these statements are not markedly different from the previous claims of falsity or damage that the
Court considered in its ruling. The Court held that while it "is undeniable that Plaintiff has a valid
interest in the prompt resolution of her claims," Plaintiff "has not established that she has actually



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been deterred from speaking, or that a delay in proceedings would cause undue prejudice."6
(Order 7.) This evidence does not substantially change this analysis, and the Court declines to
reconsider its decision based on this evidence alone.

In closing, the Court again counsels against the unjustified use of "extraordinary" procedural
mechanisms to advance the case. Absent a compelling showing of good cause, the Court will not
permit the parties to displace other litigants or violate the Court's rules. While the Court is
cognizant of the amount of media attention in this case, this alone is insufficient to create the
exigency required for extraordinary relief. If anything, the heightened scrutiny on this action
requires that the Court ensure that the rules are scrupulously followed and that justice is
administered properly and with due regard to the rights of all parties involved.

III.       RULING

For the foregoing reasons, the Court DENIES Plaintiff's Motion for Reconsideration.

IT IS SO ORDERED.




       6
         In fact, the evidence shows that Ms. Clifford made her now famous appearance on
       "Saturday Night Live" following the above referenced tweet by Mr. Trump on May 3, 2018.
       (Blakely Decl. ¶ 2.)
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